
ORDER
On this date this claim came on for consideration by the Court upon the FINDING OF FACT AND RECOMMENDATION of the Claim Investigator and the CLAIMANT’S RESPONSE, The Claim Investigator determined that the claimant did not suffer any unreimbursed economic loss, and recommended that no award be made. The claimant asserts in her response that her daughter, age 9, was frequently the victim of criminally injurious conduct beginning in 1989 and continuing until February 11, 1994. Additional information contained in the CLAIMANT’S RESPONSE clearly indicates that the criminally injurious conduct was of the nature to have caused permanent injury to the victim. Therefore, inasmuch as the victim has suffered permanent injury as a result of the crime, an award of $5,000.00 for pain and suffering is hereby granted, pursuant to the West Virginia Crime Victims Compensation Act in effect at the time of the initial criminal conduct.
Rebecca L. Ray, as guardian of Kristine Adams 403 Wedgewood Dr., Apt. J-l Fairbanks, AK 99701 (pain &amp; suffering).$5,000.00
Benjamin Hays Webb
